05-44481-rdd    Doc 7965     Filed 05/17/07 Entered 05/17/07 16:37:39          Main Document
                                         Pg 1 of 5



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Attorneys for Universal Tool &
Engineering Co, Inc.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                     )
IN RE:                               )              Chapter 11
                                     )
DELPHI CORPORATION, et al.,          )              Case No. 05-44481 (RDD)
                                     )
       Debtors.                      )              (Jointly Administered)
____________________________________)
    UNIVERSAL TOOL & ENGINEERING COMPANY, INC.’S SUPPLEMENTAL
         RESPONSE TO DEBTORS’ OBJECTIONS TO CLAIM NO. 11114
     Universal Tool & Engineering Co., Inc. (“UTE”), by its undersigned counsel, hereby

submits this Supplemental Response to the above-captioned Debtors’ objections to and

Statement of Disputed Issues with Respect to Proof of Claim No. 11114, as permitted by

paragraph 9(e) of the Court’s “Claim Objection Procedures Order.”:

       1.      On July 26, 2006, UTE filed a timely claim (Claim No. 11114) in the Debtors’

bankruptcy case for amounts owed to UTE for labor and materials supplied by UTE to Delphi

Automotive Systems, LLC (the “Claim”). The Claim is for amounts owed for labor and material

supplied by UTE to Delphi Automotive Systems, LLC from January 31, 2002 to October 31,

2005 for, among other things, the development of batteries.

       2.      On or about October 31, 2006, the Debtors filed Debtors’ (I) Third Omnibus

Objection (Substantive) Pursuant to 11 U.S.C. §502(b) and Fed. R. Bankr. P. 3007 to Certain (A)
05-44481-rdd    Doc 7965     Filed 05/17/07 Entered 05/17/07 16:37:39          Main Document
                                         Pg 2 of 5



Claims with Insufficient Documentation, (B) Claims Unsubstantiated by Debtors’ Books and

Records, and (C) Claims Subject to Modification and (II) Motion to Estimate Contingent and

Unliquidated Claims Pursuant to 11 U.S.C. §502(c) (the “Third Omnibus Claims Objection”).

       3.      In the Third Omnibus Claims Objection, the Debtors assert that UTE’s Claim is

subject to modification from the Claim Amount of $120,077.19 (the “Claim Amount”) to the

amount of $76,511.87 (the “Debtors’ Agreed Amount”), which Debtors’ Agreed Amount is

allegedly in accordance with the Debtors’ books and records.

       4.      On November 21, 2006, UTE filed a timely response to the Debtors’ Third

Omnibus Claims Objection, captioned: “Response to Third Omnibus Claims Objection (Claim

Nos. 6878, 11114 and 2175)” (hereafter “UTE Response”). Attached to the UTE Response was

the Affidavit of Robert N. Rossetter, as well as invoices and summaries of invoices which

supported the Claim Amount of $120,077.19.

       5.      On March 28, 2007, the Debtors filed a “Notice of Claims Objection Hearing with

Respect to Debtors’ Objection to Proofs of Claim Nos. 2175, 6878, 10911 and 11114) (MG

Corporation and Universal Tool & Engineering Company, Inc.)”.         On April 18, 2007, the

Debtors filed a “Notice of Adjournment of Claims Objection Hearing with Respect to Debtors’

Objection to Proofs of Claim Nos. 10911 and 11114) (MG Corporation and Universal Tool &

Engineering Company, Inc.)” (the “Notice of Adjournment”). The Notice of Adjournment

indicated that there will be a “Claims Objection Hearing” with respect to the Claim on June 22,

2007 at 10:00 a.m.

       6.      On April 25, 2007, the Debtors filed a “Statement of Disputed Issues with

Respect to Proofs of Claim Nos. 10911 and 11114 (MG Corporation and Universal Tool &

Engineering Company, Inc.)” (the “Statement of Disputed Issues”). In the Statement of Disputed




                                               2
05-44481-rdd     Doc 7965     Filed 05/17/07 Entered 05/17/07 16:37:39            Main Document
                                          Pg 3 of 5



Issues, the Debtors again asserted that a portion of the Claim is not substantiated by the Debtors’

books and records, which reflect the Debtors Agreed Amount of $76,511.87, as opposed to the

Claim Amount of $120,077.19. In the Statement of Disputed Issues, the Debtors assert that

“UTE has not shown, and cannot show, that it had, as of the October 8, 2005 petition date, a right

to payment from the Debtors in the overstated amount of $120,077.19.”

       7.      Attached to this Supplemental Response is the Supplemental Affidavit of Robert

N. Rossetter and additional documents in support of the Claim Amount, namely:

       a.      Invoice No. 25606, dated January 31, 2002, with Detail Sheets, summaries of
               material invoices and Labor Cards/time sheets supporting said invoice attached;
       b.      Invoice No. 25696, dated October 31, 2002, with Detail Sheets, summaries of
               material invoices and Labor Cards/time sheets supporting said invoice attached;
       c.      Invoice No. 25711, dated December 31, 2002, with Detail Sheets, summaries of
               material invoices and Labor Cards/time sheets supporting said invoice attached;
       d.      Invoice No. 25775, dated September 29, 2003, with material invoice attached;
       e.      Invoice No. 25781, dated September 30, 2003, with Detail Sheets, summaries of
               material invoices and Labor Cards/times sheets supporting said invoice attached;
       f.      Invoice No. 25804, dated December 31, 2003 with Detail Sheets, summaries of
               material invoices and Labor Cards/time sheets supporting said invoice attached;
               and
       g.      Invoice No. 25978, dated October 31, 2005, with Detail Sheets, summaries of
               material invoices and Labor Cards/time sheets supporting said invoice attached

(collectively, the “Supporting Documentation”).


       8.      The Supporting Documentation, as well as the Affidavit of Robert N. Rossetter

and attached exhibits attached to UTE’s Response, conclusively establish that UTE supplied the

Debtors with all of the labor and materials identified in the attached invoices and that the Claim

Amount of $120,077.19 remains due and owing to UTE under said invoices.

       9.      The fact that portions of the Claim are not reflected in the Debtors’ books and

records is no basis for disallowance of the claim.




                                                 3
05-44481-rdd    Doc 7965       Filed 05/17/07 Entered 05/17/07 16:37:39       Main Document
                                           Pg 4 of 5



       10.     Based upon the Supporting Documentation, the Claim should be allowed for the

Claim Amount, because the Claim is properly documented and supported.

                                           Respectfully submitted,


                                           /s/William M. Braman______________________
                                           John Taylor, Esq.
                                           William M. Braman, Esq.
                                           Whitney L. Mosby, Esq
                                           Counsel for Universal Tool & Engineering Co., Inc.

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                                CERTIFICATE OF SERVICE

       I certify that on May _17__, 2007, a copy of the foregoing was filed via overnight mail
and via 3.5 inch disk. I further certify that on May 17__, 2007 a copy of the foregoing was
served via overnight mail on the following:

The Honorable Robert D. Drain
United States Bankruptcy Judge
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New York, New York 10004-1408

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                                              4
05-44481-rdd   Doc 7965     Filed 05/17/07 Entered 05/17/07 16:37:39     Main Document
                                        Pg 5 of 5




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                                           __/s/William M. Braman_____________

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